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              SCHEDULE A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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              SCHEDULE B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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              SCHEDULE C
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                                     SCHEDULE C

                              LEGAL DESCRIPTION

                                    Starr County, Texas

Tract: RGV-RGC-2049
Owner: Jose Roel Montalvo, et al.
Acreage: 0.062

BEING a 0.062 acre tract (2,717 square feet) parcel of land, more or less,
being out of a called 0.103 acre tract, said tract being a portion of Share 23-
a, Porcion 66, Ancient Jurisdiction of Mier, Mexico, now Starr County,
Texas, recorded in Document No. 2006-255493 and Document No. 2007-
267726, Official Records of Starr County (O.R.S.C.), Texas, conveyed to
The Known and Unknown Heirs of Jose Roel Montalvo and Eusebia Leonila
Guerra Montalvo, Heron Ramirez, Uvaldo R. Ramirez, Jose Humberto
Ramirez, Jr., Ricardo Javier Ramirez, Artemio Ramirez, The Unknown
Heirs of Romeo Ramirez, Jose Ramon Guerra, Xavier Fernando Guerra,
Esmeralda Noelia Guerra and Carlos J. Benavides, said 0.103 acre tract is
described in Document No. 1971-79468, Official Records of Starr County
(O.R.S.C.), Texas, conveyed to Jose and Eusebia Montalvo, said 0.062 acre
tract (2,717 square feet) parcel of land being more particularly described as
follows;

BEGINNING: at a found 3 inch iron pipe, designated as “RGV-RGC-2016-
3=RGV-RGC-2049-1” having a coordinate value of N=16673649.303,
E=792342.206, said point being the northwest corner of the herein described
proposed acquisition tract, said point being the northwest corner of said Share
23- a, Porcion 66 and the northwest corner of said known and unknown heirs
of Jose Roel Montalvo and Eusebia Leonila Guerra Montalvo, et al tract, said
point being an exterior corner of Share 3-b, Porcion 66 and an exterior corner
for a called 5.63 acre tract, recorded in Document No. 1988-143717,
Document No. 1981-107206 and Document No. 1988-143691, conveyed to
Rosalinda G. Rosales, Eusebia Guerra Montalvo and Mary Lou Guerra, said
point being on the south line of a called 0.53 acre tract, recorded in Document
No. 2016-329741, Official Records of Starr County (O.R.S.C.), Texas,
conveyed to Carlos J.
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                             SCHEDULE C (Cont.)

Benavides, et al, said point being on the south line of Share 23-b, Porcion 66,
said point also being S 88°49’16” W, a distance of 3503.39 feet from United
States Corps of Engineers Control Point No. SS07-2019 (“B&F Engineering,
Inc.” aluminum cap in concrete);

THENCE: S 34°33’09” E, along the south line of said Share 23-b, the south
line of said Carlos J. Benavides, et al tract, the north line of said Share 23-a
and the north line of said known and unknown heirs of Jose Roel Montalvo
and Eusebia Leonila Guerra Montalvo, et al tract, a distance of 30.04 feet to
a computed point, designated “RGV-RGC-2049-2=RGV-RGC-2050-4” for
the northeast corner of the herein described proposed acquisition tract, said
point being the northeast corner of said known and unknown heirs of Jose
Roel Montalvo and Eusebia Leonila Guerra Montalvo, et al tract and the
northwest corner of a called 3.017 acre tract, recorded in Document No.
2016-329741, Document No. 2006-255493 and Document No. 2007-
267726, Official Records of Starr County (O.R.S.C.), Texas, conveyed to
Heron Ramirez, et al, said Heron Ramirez, et al tract described in Document
No. 1940-13857, Official Records of Starr County (O.R.S.C.), Texas;

THENCE: S 47°00’00” W, departing the south line of said Share 23-b, the
south line of said Carlos J. Benavides, et al tract, the north line of said Share
23-a and along the east line of said known and unknown heirs of Jose Roel
Montalvo and Eusebia Leonila Guerra Montalvo, et al tract and the west line
of said Heron Ramirez, et al tract, a distance of 86.68 feet to a set 5/8” rebar
with a “B&F Engineering, Inc.” aluminum cap stamped “RGV-RGC-2049-
3=RGV-RGC-2050-3” for the southeast corner of the herein described
proposed acquisition tract;

THENCE: N 52°38’25” W, departing the west line of said Heron Ramirez,
et al tract and the east line of said known and unknown heirs of Jose Roel
Montalvo and Eusebia Leonila Guerra Montalvo, et al tract, and over and
across said known and unknown heirs of Jose Roel Montalvo and Eusebia
Leonila Guerra Montalvo, et al tract, a distance of 30.14 feet to a set 5/8” rebar
with a “B&F Engineering, Inc.” aluminum cap stamped “RGV-RGC-
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                            SCHEDULE C (Cont.)

2016-4=RGV-RGC-2049-4” for the southwest corner of the herein described
proposed acquisition tract, said point being on the west line of said Share 23-
a and the west line of said known and unknown heirs of Jose Roel Montalvo
and Eusebia Leonila Guerra Montalvo, et al tract, the east line of said Share
3-b and the east line of said Rosalinda G. Rosales tract;

THENCE: N 47°00’00” E, along the east line of said Share 23-a, the west
line of said known and unknown heirs of Jose Roel Montalvo and Eusebia
Leonila Guerra Montalvo, et al tract, the east line of said Share 3-b and the
east line of said Rosalinda G. Rosales tract, a distance of 96.14 feet to the
POINT OF BEGINNING and containing 0.062 acre tract (2,717 square
feet) parcel of land, more or less.
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              SCHEDULE D
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                                    SCHEDULE D

                                    MAP or PLAT




Tract: RGV-RGC-2049
Owner: Jose Roel Montalvo, et al.
Acreage: 0.062
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                               SCHEDULE D (Cont.)




Tract: RGV-RGC-2049
Owner: Jose Roel Montalvo, et al.
Acreage: 0.062
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                               SCHEDULE D (Cont.)




Tract: RGV-RGC-2049
Owner: Jose Roel Montalvo, et al.
Acreage: 0.062
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               SCHEDULE E
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-2049
Owner: Jose Roel Montalvo, et al.
Acreage: 0.062

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
        Reserving to the owners of land described in conveyance recorded with the
Official Records of Starr County (O.R.S.C.), Texas, Document No. 1971-79468,
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;

Excepting and excluding all interests in water rights and water distribution and drainage
systems, if any, provided that any surface rights arising from such water rights or systems
are subordinated to the United States’ construction, operation, and maintenance of the
border barrier.
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                         SCHEDULE E (Cont.)
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               SCHEDULE F
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                                      SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is SIXTY FIVE

DOLLARS AND NO/100 ($65.00), to be deposited herewith in the Registry of the Court

for the use and benefit of the persons entitled thereto.
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               SCHEDULE G
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